
By the Court.
The respondent has authority under the provisions of Section 4838-5, General Code, to adopt a rule excluding from the public schools within its district children who have not been vaccinated. The enforcement of such a rule is not a violation of the constitutional right to religious freedom. State, ex rel. Milhoof, v. Board of Education of Village of Barberton, 76 Ohio St., 297, 81 N. E., 568.
It clearly appears from the record that the board of education has performed its full duty as prescribed by existing statutes.
The judgment of the Court of Appeals is, therefore, affirmed.

Judgment affirmed.

Weygandt, C. J., Zimmerman, Stewart, Middleton, Taf.t, Matthias and Hart, JJ., concur.
